Case 1:20-bk-01906-HWV   Doc Filed 06/29/21 Entered 06/29/21 10:28:24   Desc
                         Main Document   Page 1 of 8
Case 1:20-bk-01906-HWV   Doc Filed 06/29/21 Entered 06/29/21 10:28:24   Desc
                         Main Document   Page 2 of 8
                                 29




                                      Deonte Bracey




Case 1:20-bk-01906-HWV   Doc Filed 06/29/21 Entered 06/29/21 10:28:24   Desc
                         Main Document   Page 3 of 8
Case 1:20-bk-01906-HWV   Doc Filed 06/29/21 Entered 06/29/21 10:28:24   Desc
                         Main Document   Page 4 of 8
Case 1:20-bk-01906-HWV   Doc Filed 06/29/21 Entered 06/29/21 10:28:24   Desc
                         Main Document   Page 5 of 8
Case 1:20-bk-01906-HWV   Doc Filed 06/29/21 Entered 06/29/21 10:28:24   Desc
                         Main Document   Page 6 of 8
Case 1:20-bk-01906-HWV   Doc Filed 06/29/21 Entered 06/29/21 10:28:24   Desc
                         Main Document   Page 7 of 8
Case 1:20-bk-01906-HWV   Doc Filed 06/29/21 Entered 06/29/21 10:28:24   Desc
                         Main Document   Page 8 of 8
